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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


    JANET O’MEARA,

                 Plaintiff,

          v.
                                                           No. 19-cv-2130 (DLF)
    RYAN D. MCCARTHY, Secretary, U.S.
    Department of the Army,

                 Defendant.


                                  MEMORANDUM OPINION

         Janet O’Meara brings this action against Ryan D. McCarthy in his official capacity as the

Secretary of the United States Department of the Army (“the Army”),1 asserting various claims,

including several under the Rehabilitation Act of 1973, 29 U.S.C. § 791, et seq.; see Am. Compl.

¶¶ 74–127, Dkt. 7. Before the Court is the Army’s Renewed Motion to Dismiss or to Transfer

Venue under 28 U.S.C. § 1406(a). Dkt. 13. For the reasons that follow, the Court will grant the

motion and transfer this case to the Eastern District of Virginia.

I.       BACKGROUND2

         A.     Factual Background

         In May 2014, Janet O’Meara, a thirty-year federal employee, began working as a senior

procurement analyst for the United States Army Corps of Engineers and was stationed in



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 When this suit began, Mark T. Esper was the Secretary of the Army. When Ryan D. McCarthy
became the Secretary, he was automatically substituted as the proper defendant. See Fed. R. Civ.
P. 25(d).
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  Because the Court, in resolving a motion under Rule 12(b)(3), must treat the plaintiff’s “well-
pled factual allegations regarding venue as true,” Darby v. U.S. Dep’t of Energy, 231 F. Supp. 2d
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Alexandria, Virginia. Am. Compl. ¶¶ 1, 7. O’Meara has been diagnosed with generalized

anxiety disorder, bipolar disorder, and attention deficit disorder. See id. ¶¶ 1, 20. In 2015, she

had a severe reaction at work after an adjustment to her medication, and coworkers found her

sitting on the floor disoriented, cleaning persistently around her workspace. Id. ¶¶ 1, 24.

Following this incident, O’Meara alleges that she was mistreated by her supervisors and

coworkers, id. ¶¶ 28–36, which led her to file an Equal Employment Opportunity (EEO)

complaint in July 2015, id. ¶ 37. In response to her complaint, an EEO counselor met with

O’Meara and her immediate supervisors, and eventually brokered a teleworking agreement as a

temporary solution. Id. ¶¶ 21, 38–39. But O’Meara alleges that her supervisors failed to honor

this teleworking agreement, and forced her to provide excessive work updates whenever she was

permitted to telework. Id. ¶¶ 48–49.

       In September 2015, O’Meara filed a formal complaint with the Army Corps of

Engineers’ EEO office. Id. ¶ 15. In that complaint, O’Meara asserted claims of “disability

discrimination, workplace harassment, retaliation for filing an EEO complaint, failure to

accommodate, and failure to engage in the interactive process.” Id. O’Meara alleges that her

working conditions aggravated her underlying medical conditions, which required her to take

medical leave on multiple occasions. See, e.g., id. ¶¶ 55, 63. O’Meara also claims that the Army

failed to address her written accommodation and transfer requests, id. ¶¶ 56, 65, or act on her

Family Medical Leave Act application, id. ¶¶ 65–67, 69. In September 2017, O’Meara was

removed for excessive absences. Id. ¶¶ 72–73.




274, 276 (D.D.C. 2002), the facts relevant to this motion are drawn solely from O’Meara’s
Amended Complaint.



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       B.       Procedural History

       O’Meara filed this action on July 18, 2019. Dkt. 1. On October 23, 2019, the Army filed

its first motion to dismiss or transfer this case on the ground that venue was not proper in the

District of Columbia. See Dkt. 5. On March 9, 2020, the Court ordered the Army to clarify

whether its motion was being made pursuant to 28 U.S.C. § 1404(a), 28 U.S.C. § 1406(a), or

both. See Min. Order of March 9, 2020. After the Army clarified that the motion was being

made pursuant to 28 U.S.C. § 1406(a), see Dkt. 12, the Court denied the Army’s motion without

prejudice and granted the Army leave to renew its motion. See Minute Order of March 11, 2020.

The Army filed this renewed motion on March 25, 2020. See Dkt. 13.

II.    LEGAL STANDARDS

       Under Rule 12(b)(3) of the Federal Rules of Civil Procedure, a party may move to

dismiss an action or claim when venue is improper. Fed. R. Civ. P. 12(b)(3). Similarly, the

federal venue statute, 28 U.S.C. § 1406(a), requires a court to “dismiss, or if it be in the interest

of justice, transfer” a case that has been filed “in the wrong division or district.” 28 U.S.C.

§ 1406(a). On a Rule 12(b)(3) motion, the moving party “must provide sufficient specificity to

put the plaintiff on notice” of the potential defect, but “the burden remains on the plaintiff to

establish that venue is proper.” McCain v. Bank of Am., 13 F. Supp. 3d 45, 50–51 (D.D.C. 2014)

(internal quotation marks omitted), aff’d sub nom. McCain v. Bank of Am. N.A., 602 F. App’x

836 (D.C. Cir. 2015). Venue determinations are driven by “commonsense appraisal[s]” of the

“events having operative significance in the case.” Lamont v. Haig, 590 F.2d 1124, 1134 (D.C.

Cir. 1978).

       “To prevail on a motion to dismiss for improper venue, the defendant must present facts

that will defeat the plaintiff’s assertion of venue.” James v. Verizon Services Corp., 639 F. Supp.




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2d 9, 11 (D.D.C. 2009). When ruling on a Rule 12(b)(3) motion, “the [C]ourt accepts the

plaintiff’s well-pled factual allegations regarding venue as true, draw[ing] all reasonable

inferences from those allegations in the plaintiff’s favor.” Pendleton v. Mukasey, 552 F. Supp.

2d 14, 17 (D.D.C. 2008) (internal quotation marks omitted). “The Court need not, however,

accept the plaintiff’s legal conclusions as true, and may consider material outside of the

pleadings.” Abraham v. Burwell, 110 F. Supp. 3d 25, 28 (D.D.C. 2015) (internal citation

omitted). Unless there is a pertinent factual dispute to resolve, a challenge to venue presents a

pure question of law. Williams v. GEICO, 792 F. Supp. 2d 58, 62 (D.D.C. 2011).

III.       ANALYSIS

           A.     Venue Provisions

           “[T]he proper venue for litigating a Rehabilitation Act claim is determined by the special

venue provisions of Title VII of the Civil Rights Act, 42 U.S.C. § 2000e–5(f)(3).” Slaby v.

Holder, 901 F. Supp. 2d 129, 132 (D.D.C. 2012). Title VII’s special venue provisions provide

that “a plaintiff may bring suit: (1) where ‘the unlawful employment practice is alleged to have

been committed,’ (2) where ‘the employment records relevant to such practice are maintained

and administered,’ or (3) where ‘the aggrieved person would have worked but for the alleged

unlawful employment practice.’” Pendleton, 552 F. Supp. 2d at 17 (quoting 42 U.S.C. § 2000e-

5(f)(3)). If the defendant “is not found within any such district” then the “action may be brought

within the judicial district in which the [defendant] has his principal office,” 42 U.S.C. § 2000e-

5(f)(3).

           Here, venue is appropriate in the Eastern District of Virginia under Title VII’s first

provision because the allegedly unlawful employment practices occurred there, and the third

venue provision is inapplicable because O’Meara does not claim that she would have worked in




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a different district in the absence of such practices. See Am. Compl. ¶¶ 1, 7; Pl.’s Opp’n at 14,

Dkt. 14; Def.’s Reply at 3, Dkt. 15. The parties disagree, however, over whether venue is

appropriate in the District of Columbia under Title VII’s second venue provision.3 Compare

Pl.’s Opp’n at 3–4, 9, with Def.’s Reply at 2.

       This Court has made clear that “[u]sing employment records to process an administrative

complaint is not ‘maintaining and administering’ the employment records for purposes of

establishing venue under 42 U.S.C. § 2000e-5(f)(3).” Saran v. Harvey, 2005 WL 1106347, at *3

(D.D.C. May 9, 2005). Holding otherwise would “sidestep the language of the statute, which

deals not with administrative processing of the litigation but with the maintenance and

administration of employment records relevant to the challenged employment practice,” Lee v.

England, 2004 WL 764441, at *1 (D.D.C. Mar. 9, 2004), and would allow venue to lie “merely

where any records happen to be located,” Kendrick v. Potter, 2007 WL 2071670, at *3 (D.D.C.

July 16, 2007).

       The Army has produced declarations attesting that O’Meara’s official employment

records are “maintained and administered” at the National Personnel Records Center, which is

headquartered in Saint Louis, Missouri, Haugh Decl. ¶¶ 3–7, Dkt. 13-4, and that the employment

records located in the Army Corps of Engineers’ EEO office in Washington, D.C. are maintained

for the purpose of processing O’Meara’s EEO claims, see Poole Decl. ¶ 3, Dkt. 13-3. Ordinarily,

such evidence would likely satisfy the Army’s burden to “present facts that will defeat the

plaintiff’s assertion of venue.” See Khalil v. L–3 Commc’ns Titan Grp., 656 F. Supp. 2d 134,



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 There is no need for the Court to consider the fourth Title VII venue provision, but the
Secretary of the Army’s “principal office,” the Pentagon, is physically located in Arlington,
Virginia, also in the Eastern District of Virginia. See Dehaemers v. Wynne, 522 F. Supp. 2d 240,
247 (D.D.C. 2007).



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135 (D.D.C. 2009) (internal quotation marks omitted); see also Kendrick, 2007 WL 2071670, at

*3 (noting such declarations “are sufficient to establish where the employment records are

maintained and administered”).

       But O’Meara also has produced declarations which attest that O’Meara’s official

personnel file was “purged” of various records upon her separation, see Bolls Decl. ¶¶ 7–8, Dkt.

14-3, that the vast majority of the employment records relevant to her claims of discrimination—

including her accommodation requests, leave requests, and medical folder—are no longer

contained within her official personnel file, Second O’Meara Decl. ¶¶ 1, 4–5, Dkt. 14-2, and that

O’Meara’s EEO records are the only extant version of these records, see Bolls Decl. ¶¶ 8, 10.

Accordingly, O’Meara contends that her EEO records are the only relevant “master set” of

employment records under Title VII’s second venue provision. Pl.’s Opp’n. at 11; see also

Taylor v. Shinseki, 13 F. Supp. 3d 81, 87 (D.D.C. 2014) (“Courts in this district have interpreted

this provision to mean that venue is proper in only one district: where the ‘master set’ of

employment records is located.”).

       This Court has “firmly rejected the argument that the location where Plaintiff’s EEO

complaints were initiated and processed provides a basis for venue under prong 2 of § 2000e-

5(f)(3).” Ellis-Smith v. Sec’y of Army, 793 F. Supp. 2d 173, 176–77 (D.D.C. 2011). Thus

“[w]hile it may be true that records relating to plaintiff’s unlawful employment practice

complaint and the investigation thereof are maintained in the District of Columbia, such records

are not ‘employment records’ within the meaning of the statute.” Amirmokri v. Abraham, 217 F.

Supp. 2d 88, 90–91 (D.D.C. 2002). “Although Congress could easily have written the statute to

make venue proper in any judicial district in which employment records may be found, it did not

choose to do so.” Washington v. Gen. Elec. Corp., 686 F. Supp. 361, 363 (D.D.C. 1988).




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Rather, it made venue proper “in the judicial district in which the employment records relevant to

such practice are maintained and administered.” 42 U.S.C. § 2000e-5(f)(3) (emphasis added). A

“version” of the employment records were provided to the Army Corps of Engineers’ EEO office

in Washington, D.C. to assist with the processing of O’Meara’s EEO complaint. See Poole Decl.

¶ 3. But duplicate records are “insufficient to satisfy Title VII’s second venue provision.”

Jyachosky v. Winter, 2006 WL 1805607, at *3 (D.D.C. June 29, 2006); see also Taylor, 13 F.

Supp. 3d at 87 (“[T]he mere electronic accessibility of the ‘master set’ of records from other

districts does not provide an adequate basis for venue.”).

       Any purging of records in O’Meara’s official employment file, see Bolls Decl. ¶ 8, does

not transform the duplicate EEO file into a “master set” of employment records such that the

EEO office has been tasked with “manag[ing] the affairs of” or “direct[ing] or superintend[ing]

the execution” or “use” of O’Meara’s employment records. See Webster’s Third New

International Dictionary 27 (1961) (defining the term “administer”). Nor does the imposition of

a “litigation hold” on O’Meara’s EEO file, see Pl.’s Opp’n at 2; Bolls Decl. ¶ 6, change this

straightforward conclusion. After all, the EEO file is not a set of “employment records” to begin

with. Amirmokri, 217 F. Supp. 2d at 90–91 (stressing that EEO records are not “employment

records” within the meaning of Title VII’s venue provision). Even if it were an employment

record, it is not being maintained or administered by the EEO office, which merely oversees the

“administrative processing of th[is] litigation,” Lee, 2004 WL 764441, at *1; see Saran, 2005

WL 1106347, at *3 (observing that “using employment records to process an administrative

complaint” does not constitute “maintaining and administering” a plaintiff’s employment

records).




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        While O’Meara was employed at the Army, the Army Corps of Engineers’ Civilian

Personnel Advisor Center maintained and administered O’Meara’s official employment file at

her office in Alexandria, Virginia. See Haugh Decl. ¶ 3; Bolls Decl. ¶ 8; Pl.’s Opp’n at 9–10.

After she left the Army, O’Meara’s employment file was transferred from the Alexandria,

Virginia office to the Army Corps of Engineers’ headquarters in Washington, D.C., and later to

the National Personnel Records Center headquarters in Saint Louis, Missouri, pursuant to Army

Corps of Engineers’ policy.4 See Haugh Decl. ¶¶ 3–5. Thus, to the extent that any office of the

Army continues to “maintain and administer” O’Meara’s official employment records, it is the

National Personnel Records Center. Accordingly, venue is not proper in the District of

Columbia.

        B.       Transfer

        Having found venue in the District of Columbia to be improper, the Court must

determine whether to dismiss the case. “The district court of a district in which is filed a case

laying venue in the wrong division or district shall dismiss, or if it be in the interest of justice,

transfer such case to any district or division in which it could have been brought.” 28 U.S.C. §

1406(a). “The decision whether a transfer or a dismissal is in the interest of justice . . . rests

within the sound discretion of the district court.” Naartex Consulting Corp. v. Watt, 722 F.2d

779, 789 (D.C. Cir. 1983). Yet “the interest of justice generally requires transferring a case to




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  Although O’Meara does not appear to dispute that her official employment file was transferred
to the National Personnel Records Center headquarters in St. Louis, Missouri, see Pl.’s Ex.
Letter, Dkt. 14-4; Def.’s Reply at 5, she contends that what remains of her official employment
file is now located at the National Personnel Records Center’s annex, see Pl.’s Ex. Letter; Def.’s
Reply at 5, in Valmeyer, Illinois, see Pl.’s Opp’n at 2 n.1. The Court need not resolve this
factual dispute because both sites are located outside of the District of Columbia.


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the appropriate judicial district in lieu of dismissal,” Ellis-Smith, 793 F. Supp. 2d at 177, which is

what the Court will do here.

       Beyond asserting that venue is proper in the District of Columbia, O’Meara has expressed

no preference as to where her claims should be heard. Nonetheless, the Court finds that it is in

the interest of justice to transfer the case to the Eastern District of Virginia because, as O’Meara

represents, see Pl.’s Opp’n at 15, various key witnesses reside in or near that district.

                                          CONCLUSION

       For the foregoing reasons, the Court grants the Army’s renewed motion to dismiss or

transfer venue, and will transfer this case to the Eastern District of Virginia. A separate order

consistent with this decision accompanies this memorandum opinion.




                                                               ________________________
                                                               DABNEY L. FRIEDRICH
                                                               United States District Judge
September 17, 2020




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